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                    UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF TEXAS
                         BEAUMONT DIVISION



   Peter Harris and Loni Harris,


               Plaintiffs,                   Case No. 1:24-cv-00313


         v.


   Upwintrade.com, a business                Plaintiffs’ Motion for
   association; David Shamlian, an           Emergency Ex Parte
   individual; John Does 1 – 20,             Temporary Restraining
                                             Order & Order Authorizing
                                             Expedited Discovery
               Defendants.



        Plaintiffs Peter and Loni Harris (together, the “Harrises”) hereby

  request that the Court enter (i) a temporary restraining order freezing the

  Defendants’ assets and (ii) an order authorizing them to engage in expedited

  discovery. In support, the Harrises respectfully show the Court as follows.

        I.     Preliminary Statement

        The Harrises filed this action to recover funds they lost to a

  cryptocurrency-related fraud and conversion scheme operated by a

  sophisticated criminal syndicate. The Defendants stole more than assets

  worth more than $650,000 from the Harrises—a devastating loss. Sadly, the

  Harrises are not alone. They are but two victims of the ongoing crypto-fraud

  epidemic, to which hardworking Americans are losing billions every year.


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        As is typical in crypto-fraud cases, the Harrises do not know the

  Defendants’ true identities or their precise whereabouts. But, with the

  assistance of a professional blockchain-investigations firm, they have traced

  their stolen assets to accounts controlled by the Defendants at four

  cryptocurrency exchanges (the “Receiving Exchanges”). This tracing is

  fundamental to the relief the Harrises seek in this Motion. It is their foothold

  in the arduous climb toward recovery.

        The Harrises’ present aims are to preserve the status quo and serve

  the Defendants with process. Accordingly, they now seek (i) an ex parte

  temporary restraining order freezing the Defendants’ assets and (ii)

  authorization to issue subpoenas to various third parties seeking information

  about the Defendants and their activities.

        II.    Supporting Materials

        The Harrises submit the following materials in support of this Motion.

        Exhibit 1: Cole Affidavit. Evan Cole is a certified blockchain

  investigator and the founder of Digital Investigations, LLC. Mr. Cole’s

  affidavit attests to background information about the pig-butchering

  epidemic, cryptocurrency technology, blockchain-tracing methodology, and

  the results of the blockchain tracing performed in this case.

        Exhibit 2: Hoda Affidavit. Marshal Hoda is counsel to the Harrises in

  this matter. Counsel’s affidavit attests to the reasons why the Court should

  not require notice before issuance of an ex parte temporary restraining order.



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        III.   Factual Allegations

        This section first provides necessary background about the crypto-

  fraud epidemic. It then explains salient aspects of blockchain technology and

  tracing methodology. Finally, it summarizes the facts of this case and details

  the tracing of the Harrises’ stolen assets.

               A.     The Pig-Butchering Epidemic

        This case arises from what is known as a “pig-butchering scam.” In

  such scams, the perpetrators convince the victim to ‘trade’ in cryptocurrencies

  using a fake-but-realistic-looking online platform that the perpetrators

  control.1 But no ‘trading’ ever occurs.2 The perpetrators simply steal the

  victim’s money, then disappear into cyberspace.3

        Pig-butchering scams are epidemic. In 2023, investment fraud—of

  which pig-butchering scams are a subset—overtook ‘phishing’ as the most




        1 See Ex. 1, Declaration of Evan Cole (henceforth “Cole Affidavit”), ¶¶

  3 – 5 (describing pig-butchering epidemic and providing sources); Ex. 1-A
  Cezary Podkul, What’s a Pig-Butchering Scam? Here’s How to Avoid Falling
  Victim to One, PROPUBLICA, passim (describing pig-butchering scam tactics)
  (published Sep. 19, 2022); Ex. 1-B, United States Secret Service Cybercrime
  Investigations, Cryptocurrency Investment Scams, passim (same).
        2   Ex. 1-A, What’s a Pig Butchering Scam?, at p.4 (noting that pig-
  butchering schemes work by deceiving the victim into putting “real money
  into [a] fake account”).
        3 Id. (noting that “[o]nce targets reach a limit and become unwilling to

  deposit more funds, their seeming investment success comes to a sudden stop”
  when “[w]ithdrawals become impossible, or they suffer a big ‘loss’ that wipes
  out their entire investment”).

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  prevalent form of cybercrime.4 Recent literature indicates that pig-butchering

  organizations have stolen more than $75 billion from victims worldwide since

  2020.5 In the United States alone, victims reported losses of $2.6 billion to

  such scams in 2022—more than double the amount the previous year.6

        Pig-butchering syndicates’ mechanics are well known. The largest pig-

  butchering organizations are based in Southeast Asia, where this type of

  scam originated.7 They are managed at the highest level by professional

  criminals, who use forced labor to fill their operations’ rank-and-file.8 These

  ‘agents’ are trained in social-engineering and psychological-manipulation

  techniques, which they use to deceive and steal from the syndicates’ victims.9

                B.    The Harrises’ Allegations

        As detailed in the Harrises’ Verified Complaint, this case bears the

  unmistakable characteristics of a pig-butchering scam.10 The Harrises were

  directed to David Shamlian by a person operating a fake Facebook account


        4 Ex. 1-C, Federal Bureau of Investigation, Internet Crime Report 2023

  (excerpt), at p. 12 (“In 2023, the losses reported due to Investment scams
  became the most of any crime type tracked by the IC3.”).
        5 See Ex. 1-D, excerpts from John M. Griffin & Kevin Mei, How Do

  Crypto Flows Finance Slavery? The Economics of Pig Butchering, at pp. 1 – 3
  (published Feb. 29, 2024).
        6 See Ex. 1-E, Poppy McPherson & Tom Wilson, Crypto Scam: Inside

  the Billion-Dollar ‘Pig-Butchering’ Industry, REUTERS, passim (published
  Nov. 23, 2023)).
        7 Id.

        8 Id.

        9 Id.

        10 Verified Complaint (henceforth, “Complaint”), ¶¶ 14 – 19.


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  that appeared to be the profile of a friend of Loni Harris’s. Shamlian, in turn,

  advised them to make an account on Upwintrade.com and “trained” them in

  the process of trading and investing in cryptocurrencies there.

        Following Shamlian’s guidance, the Harrises began transferring

  cryptocurrency they had purchased for their personal accounts to blockchain

  addresses provided to them by Upwintrade—which they believed to be a

  legitimate trading platform.11 But when the Harrises attempted to withdraw

  their funds, they were told that they needed to pay taxes and fees to ‘release’

  their funds.12 This is when they realized they had been the victims of a scam.

  The cryptocurrencies they transferred to the Defendants were never

  ‘invested’ or used for any other legitimate purpose.13 The Defendants simply

  stole the Harrises’ assets. They are now running away with those assets by

  transferring them from address to address on the blockchain.14

                 C.   Blockchain Background

        This section provides background necessary to appreciate the Harrises’

  blockchain-tracing evidence, and, in turn, why they have satisfied the legal

  standards applicable to this Motion. It first sets out cryptocurrency




        11 Id.

        12 Id.

        13 Id.

        14 Ex. 1, Cole Affidavit, ¶¶ 3 – 5 (concluding that the Harrises were the

  victims of a pig-butchering scam and providing sources for comparison to facts
  of this case).

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  fundamentals, then details the practice of “blockchain tracing,” and finally

  explains crucial points about the recoverability of crypto assets.

                 1.   Cryptocurrency Fundamentals

        A “blockchain” is a distributed and immutable ledger that facilitates

  the process of recording transactions and tracking assets.15 A cryptocurrency,

  in turn, is a digital asset that is created, distributed, and transferred between

  participants on a blockchain.16 Every unit of cryptocurrency is held at an

  “address.” An address is analogous to a safety-deposit box. Just as a safety

  deposit box stores bars of gold, a cryptocurrency address stores crypto assets,

  such as Bitcoin.17 And just as a safety-deposit box can only be opened by a

  person with its physical key, the assets held at a given cryptocurrency

  address can only be transferred by a person with its “private key”—a long

  string of letters and numbers that functions much like a password.18

        Cryptocurrency addresses differ from safety-deposit boxes, however, in

  that their transaction histories and balances are public.19 Any person can

  review the transaction history and asset balances associated with any given

  address by means of a simple online search.20 But, because blockchain




        15 Ex. 1, Cole Affidavit, ¶ 6.

        16 Id.

        17 Id.

        18 Id.

        19 Id.

        20 Id.


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  participants are not required to provide personally identifying information,

  the identity of the person or persons who control a given address remains

  obscured.21 In sum, then, we see that blockchain transactions are both public

  and pseudonymous.

        To complete our analogy, we can imagine a blockchain as a room filled

  with safety-deposit boxes. Each box is impenetrable, but also transparent. We

  can see the assets inside, and each even has a transaction ledger attached.

  But each box is identified only by a pseudonymous nameplate. We know

  everything about the boxes—except who controls them.

                 2.   Blockchain Tracing

        Blockchains’ unique characteristics both facilitate investigations and

  impose inherent limitations. With a few clicks, a crypto-fraud investigator

  can trace the flow of stolen assets from blockchain address to blockchain

  address—each transaction representing a “hop,” in crypto parlance—and

  thereby determine where those assets ended up.22 But, because each address

  is identified only with a pseudonym, the tracing exercise does not, on its own,

  reveal who is responsible for the scam being investigated.23

        Despite the pseudonymity of blockchain addresses, there are methods

  available to discover the identities of the persons controlling a given address.




        21 Id.

        22 Id.

        23 Id.


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  To understand these methods, it is important to understand two concepts: (i)

  a practice called “address attribution” and (ii) the nature and role of

  cryptocurrency “exchanges.”

        Address attribution is the process and practice of gathering and using

  “off-chain” data to attribute control of a particular blockchain address to a

  specific person or entity.24 Investigators frequently take advantage of

  “attributions” provided by proprietary blockchain-tracing tools such as

  Chainalysis Reactor (the platform the Harrises’ investigator used to perform

  the   blockchain   investigation   detailed   below).25   Chainalysis   gathers

  attribution data through open-source intelligence, coordination with law

  enforcement, review of judicial filings, “clustering” of addresses whose

  behaviors reveal common control, and by other means.26 Those attributions

  are then made available to investigators who use its Reactor tool.

        One particularly helpful kind of attribution is the association of a

  particular address with a given cryptocurrency “exchange.” A cryptocurrency

  exchange is a platform that allows users to buy, sell, trade, and store

  cryptocurrencies.27 Users often choose to use these exchanges for the sake of

  convenience. Doing so allows them to avoid the difficult technical problems

  associated with “self-custody” (i.e., the practice of storing cryptocurrencies


        24 Id.

        25 Id.

        26 Id.

        27 Id.


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  locally, on devices controlled solely by the user).28 The result is that, by using

  a tool like Reactor, investigators can often trace the flow of misappropriated

  assets to addresses known to be associated with particular exchanges.29

        The attribution of a particular address in the tracing-path to an

  exchange provides a unique opportunity to identify the real persons

  responsible for unlawful activity. Many exchanges require their users to

  provide know-your-customer and contact information when creating an

  account, often including the user’s real name, date of birth, identity

  documents, physical address, email address, and phone number.30 Exchanges

  also keep records of the balances and transaction histories associated with

  each customer account.31 Exchanges routinely provide this biographical and

  account information to investigators when called to do so.32

                 3.   Crypto-Asset Recovery

        Useful though it may be, blockchain tracing is not an end in itself.

  Crypto-fraud victims’ goal is to recover their stolen assets. But the routes to

  recovery are limited. As noted above, the nature of blockchain technology is

  such that only a person with a given address’s ‘private key’ can transfer the




        28 Id.

        29 Id.

        30 Id.

        31 Id.

        32 Id.


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  assets held at that address.33 The result is that even where stolen assets can

  be traced to an address clearly associated with criminality, it is often beyond

  the power of any court or authority to freeze or disgorge the proceeds of

  crypto-related crime.34

        There are, however, exceptions to this rule. Where misappropriated

  assets can be traced to an exchange—as the Harrises’ investigation has here—

  the exchange does have the power to freeze those assets and ultimately

  disgorge them as restitution or damages.35 This is because cryptocurrency

  exchange accounts do not typically operate like the safety-deposit boxes we

  imagined above. Instead, they operate like checking accounts. When a

  customer at a traditional bank deposits funds in her checking account, the

  bank does not hold those exact same dollars in segregation until the customer

  comes back to withdraw them. Instead, the bank intermingles the customer’s

  assets with those it has received from others and simply keeps track of its

  indebtedness to the customer.

        Many cryptocurrency exchanges operate in precisely the same way. An

  exchange customer’s account balance does not represent individual,

  segregated units of cryptocurrency that the exchange holds for that

  customer—but instead simply tracks the exchange’s indebtedness to that




        33 Id.

        34 Id.

        35 Id.


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  customer.36 This is why exchanges have a special role in crypto-asset

  recovery. A crypto exchange can “freeze” any account simply by refusing to

  allow it to engage in further transactions. And it can ultimately transfer

  assets to victims in its capacity as a crypto-criminal defendant’s garnishee.37

        Two final points about crypto-exchange accounts are important here.

  First, because exchanges intermingle customer assets, the asset-balance and

  transaction-history transparency described above are lost where stolen assets

  are traced to a blockchain address attributed to a crypto-exchange account.38

  Investigators cannot determine the current asset balance or outgoing

  transaction history of an exchange-associated address using publicly

  available information.39 Only the exchange has that information, which must

  be gathered using other means (such as the subpoenas the Harrises seek to

  issue to the Receiving Exchanges).40

        Second, because cybercriminals are aware of the vulnerabilities

  associated with storing assets at cryptocurrency exchanges described above,

  the asset-recovery opportunities engendered by tracing stolen assets to an

  exchange are fleeting. Cybercriminals like the Defendants cycle through

  exchange accounts, using each account only for a short time to marshal,



        36 Id.

        37 Id.

        38 Id.

        39 Id.

        40 Id.


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  intermingle, and obfuscate the monies they have stolen. They then quickly

  move to send those assets to non-compliant exchanges or self-custody

  addresses.41 When they do so, they are often able to place these assets

  permanently beyond the reach of any lawful authority.42 In sum,

  cryptocurrency exchanges are indeed a chokepoint—but a fleeting one.

                 D.   Blockchain-Tracing Results

        Digital Investigations, a professional cryptocurrency-investigations

  firm, has traced the assets stolen from the Harrises through the blockchain.43

  As detailed in the Cole Affidavit, the assets stolen from the Harrises can be

  traced to accounts controlled by the Defendants at the cryptocurrency

  exchanges Remitano, Revolut, Bybit, and Binance.44

        Digital Investigations’ blockchain-tracing effort is detailed in the Cole

  Affidavit.45 In short, Digital Investigations has traced the assets stolen from

  the Harrises through a series of “hops” (i.e., transactions) between blockchain

  addresses controlled by the Defendants, leading to deposits at the Receiving

  Exchanges. This tracing is illustrated in the Chainalysis Reactor graph

  attached to the Cole Affidavit as Exhibit 1-F. The “transaction hashes”

  referencing specific transactions in which significant portions of the Harrises’



        41 Id. at ¶¶ 6, 13.

        42 Id.

        43 Id. at ¶¶ 7 – 12.

        44 Id.

        45 Id.


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  stolen assets were transferred to these entities are set out in Exhibit 1-G to

  the Cole Affidavit.

        IV.      Relief Sought

        The Harrises seek (i) a temporary restraining order freezing the

  Defendants’ accounts at the Receiving Exchanges and (ii) an order

  authorizing expedited discovery. The balance of this Motion will articulate

  the standards applicable to these requests and explain why the Harrises have

  satisfied them.

        Before turning to the particulars, it is worth pausing to consider the

  legal landscape. As one court in this circuit recently noted, “[c]ryptocurrency

  is new, so cryptocurrency fraud is also new.”46 Thus, while “[c]ourts are

  beginning to define this novel area, [] the law is still developing.”47

  Nevertheless, the decisions reveal clear trends. As detailed below, Courts

  have repeatedly issued freezing orders and authorized expedited discovery in

  cases like this one. The Harrises humbly urge the Court do the same here.

                 A.     The Court should issue an ex parte Temporary
                        Restraining Order freezing the Defendants’
                        accounts at the Receiving Exchanges.

        The Harrises request that the Court issue an ex parte temporary

  restraining order and preliminary injunction freezing the Defendants’

  accounts at the Receiving Exchanges. The standard for issuance of such an


        46 Licht v. Ling, No. 3:23-CV-1018, 2023 WL 4504585, at *3 (N.D. Tex.

  June 20, 2023).
        47 Id.


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  order has both procedural and substantive aspects. This section will first

  explain why the Harrises have satisfied these requirements. It will then

  explain why the Court has the authority to issue an asset-freezing order in

  this case, and why it should indeed do so.

               1.    The Harrises have met the procedural requirements for
                     issuance of an ex parte restraining order.

        The Court has the authority to issue an ex parte temporary restraining

  order without notice or a hearing if (i) “specific facts in an affidavit or a

  verified complaint clearly show that immediate and irreparable injury, loss,

  or damage will result to the movant before the adverse party can be heard in

  opposition,” and (ii) “the movant’s attorney certifies in writing any efforts

  made to give notice and the reasons why it should not be required.”48 Each of

  these requirements is met here.

        Element 1: Immediate & Irreparable Injury. The Verified Complaint

  and the Cole Affidavit show the likelihood of immediate and irreparable

  injury or loss. These averments show that the Harrises were victimized by

  David Shamlian and the operators of the Upwintrade platform in a pig-

  butchering scam by providing evidence that the tactics on display here are a

  precise match for those that have been described in news reports, law-

  enforcement bulletins, and reported cases.49




        48 FED R. CIV. P. 65(b)(1)(A)-(B).

        49 See Complaint, ¶¶ 14 – 19; Ex. 1, Cole Affidavit, ¶¶ 3 – 4 (verifying

  this Motion’s description of pig-butchering epidemic, providing sources, and
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        The risk of immediate and irreparable injury is posed by the fact that

  cybercriminals like the Defendants can and do move crypto assets from

  address to address in mere seconds, with the click of a button.50 And while

  crypto assets held at exchange-based addresses can be frozen and

  involuntarily disgorged, most assets held in “self-custody” or at non-

  compliant exchanges cannot.51 Thus, the tracing of the Harrises’ assets to the

  Receiving Exchanges addresses provides a unique and fleeting opportunity to

  restrain further movement of those assets while the Harrises identify and

  serve the Defendants. Courts have consistently recognized that these features

  of blockchain technology justify the issuance of ex parte freezing orders in

  crypto-fraud cases.52




  explaining that this case bears unmistakable characteristics of a pig-
  butchering scam).
        50 Ex. 1, Cole Affidavit, ¶ 13

        51 Ex. 1, Cole Affidavit, ¶ 6.

        52 See, e.g., Ohlin v. Defendant 1, No. 3:23-C-8856-TKW-HTC, 2023 WL

  3676797, at *3 (N.D. Fla. May 26, 2023) (“Considering the speed with which
  cryptocurrency transactions are made as well as the anonymous nature of
  those transactions, it is imperative to freeze the Destination Addresses to
  maintain the status quo to avoid dissipation of the money illegally taken from
  Plaintiffs.”); Jacobo v. Doe, No. 1:22-CV-00672DADBAKBAM, 2022 WL
  2052637, at *3 (E.D. Cal. June 7, 2022) (“Because it would be a simple matter
  for [defendant] to transfer [the] cryptocurrency to unidentified recipients
  outside the traditional banking system and effectively place the assets at
  issue in this matter beyond the reach of the court, the court finds that plaintiff
  is likely to suffer immediate and irreparable harm in the absence of injunctive
  relief.”) (cleaned up); Astrove v. Doe, No. 1:22-CV-80614-RAR, 2022 WL
  2805315, at *3 (S.D. Fla. Apr. 22, 2022) (same).

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            Element 2: Notice. The Court has the authority to enter an ex parte

  order not only where notice to the adverse party is impracticable, but where

  “notice to the defendant would render fruitless [the] prosecution of the

  action.”53 Under this logic, courts have found that notice of an asset-freeze

  motion is not required if the parties to be enjoined “are likely to dissipate

  assets and destroy business documents,” such that the very act of providing

  notice would “cause immediate and irreparable, injury, or damages to [the]

  Court’s ability to award effective final relief.”54

            If the Defendants were provided notice of this Motion, it would be “a

  simple matter” for them to “transfer [the stolen cryptocurrency] to

  unidentified recipients outside the traditional banking system, including

  contacts in foreign countries, and effectively put it beyond the reach of this

  court.”55 Numerous courts have applied just this logic in granting ex parte

  asset-freezing orders in crypto-fraud cases like this one.56



            53 Matter of Vuitton et Fils S.A., 606 F.2d 1, 5 (2d Cir. 1979); see also,

  e.g., First Tech. Safety Sys., Inc. v. Depinet, 11 F.3d 641, 650 (6th Cir. 1993)
  (noting that ex parte order is justified under this logic if applicant shows that
  “the adverse party has a history of disposing of evidence or violating court
  orders or that persons similar to the adverse party have such a history”).
            54 Fed. Trade Comm'n v. Dluca, No. 18-60379-CIV, 2018 WL 1830800,

  at *2 (S.D. Fla. Feb. 28, 2018), report and recommendation adopted, No. 0:18-
  CV-60379-KMM, 2018 WL 1811904 (S.D. Fla. Mar. 12, 2018).
            55 Jacobo, 2022 WL 2052637, at *3 (quoting Dluca, 2018 WL 1830800,

  at *2).
            56 See, e.g., Gaponyuk v. Alferov, No. 223CV01317KJMJDP, 2023 WL

  4670043, at *2 (E.D. Cal. July 20, 2023) (issuing ex parte asset-freeze TRO in
  similar crypto-fraud case, and writing that “federal district courts have
  granted ex parte relief in situations like this one, noting the risks that
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               2.     The Harrises have met the substantive requirements for
                      issuance of a temporary restraining order.

        To obtain a temporary restraining order, the movant must show: (1) a

  substantial likelihood of success on the merits, (2) a substantial threat of

  irreparable harm if the injunction does not issue, (3) that the threatened

  injury outweighs any harm that will result if the injunction is granted, and

  (4) that the grant of an injunction is in the public interest.57 The Harrises

  have met each of these requisites for the reasons set out below.

        Element 1: The Merits. The Harrises allege the Defendants are liable

  for (1) violations of the Racketeering Influenced and Corrupt Organizations

  Act (“RICO”), (2) conversion, and (3) fraud. They are likely to succeed on the

  merits of each of these claims.58

        RICO Claim. To recover on a civil RICO claim, a plaintiff must show

  (1) a violation of 18 U.S.C. § 1962 (a “RICO violation”), (2) an injury to his

  business or property, and (3) that such injury was caused by the RICO




  cryptocurrencies may rapidly become lost and untraceable”); Ohlin, 2023 WL
  3676797, at *2 (notice not required where plaintiff offered declarations
  showing that the defendants were crypto-criminals, which gave the court
  “every reason to believe the Defendants would further hide those [stolen]
  assets if they were given notice”); Jacobo, 2022 WL 2052637, at *3 (notice not
  required because plaintiff made credible allegations that defendants were
  crypto-criminals, which “pose[d] a heightened risk of asset dissipation”).
        57 Moore v. Brown, 868 F.3d 398, 402-03 (5th Cir. 2017).

        58 While venue is proper in this Court pursuant to 28 U.S.C. §
  1391(c)(3), the Harrises are residents of California. The Court should thus
  apply California law to the Harrises’ common-law conversion and fraud
  claims.

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  violation.59 To prove a RICO violation, a plaintiff must show that the

  defendant is (1) a person60 who engaged in (2) a pattern61 of racketeering

  activity,62 (3) connected to the acquisition, establishment, conduct or control

  of an enterprise.63

        The Harrises’ RICO claim is likely to succeed. Their Complaint makes

  non-conclusory allegations sufficient to establish each element, including by

  (1) identifying and defining the Defendants’ enterprise,64 (2) explaining their

  pattern of wire fraud,65 and (3) recounting the injuries they suffered as a

  direct result of the Defendants’ racketeering scheme.66 The Complaint and

  the Cole Affidavit show that the Defendants’ scheme was the very definition

  of an enterprise created solely to perpetrate a pattern of wire fraud, and on a



        59 Lewis v. Danos, 83 F.4th 948, 956 (5th Cir. 2023).

        60 A RICO “person” is “any individual or entity capable of holding a

  legal or beneficial interest in property.” 18 U.S.C. § 1961.
        61 A “pattern of racketeering activity requires at least two acts of
  racketeering activity, one of which occurred after the effective date of this
  chapter and the last of which occurred within ten years (excluding any period
  of imprisonment) after the commission of a prior act of racketeering activity.”
  18 U.S.C. § 1961(5).
        62 “Racketeering activity” includes acts indictable under 18 U.S.C. §

  1341 (relating to mail fraud) and § 1343 (relating to wire fraud). 18 U.S.C. §
  1961(1)(B).
        63 An enterprise is “a group of persons or entities associating together

  for the common purpose of engaging in a course of conduct.” Whelan v.
  Winchester Prod. Co., 319 F.3d 225, 229 (5th Cir. 2003) (defining enterprise
  and recounting elements).
        64 Complaint, ¶¶ 14 – 19.

        65 Id.

        66 Id.


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  global scale.67 At least one court has issued a default judgment approving a

  civil RICO claim in a crypto-fraud case functionally identical to this one.68

           Conversion Claim. To prevail on a conversion claim, a plaintiff must

  show “(1) [their] ownership or right to possession of the property; (2) the

  defendant’s conversion by a wrongful act or disposition of property rights; and

  (3) damages.”69

           The Harrises’ conversion claim is likely to succeed. Their Complaint

  and the Cole Affidavit show that the Defendants acted intentionally, that

  their scheme was wrongful, and that they took control of the Harrises’ assets

  and have not returned them.70 Numerous courts have found that plaintiffs

  were likely to succeed on conversion claims in in crypto-fraud cases.71




           67 Id.; Cole Affidavit, ¶¶ 3 – 5.

           68 Order on Motion for Final Default Judgment, Sun v. Defendant 1,

  No. 1:23-cv-21855 (S.D. Fla. Dec. 8, 2023), pp. 3-4 (“The allegations in
  Plaintiff’s Amended Complaint, admitted by default, establish each element
  of a RICO § 1962(c) violation. Specifically, Plaintiff alleges that Defendant
  and her co-conspirators operate a sophisticated global internet
  cryptocurrency fraud and conversion scheme …”).
           69 Welco Elecs., Inc. v. Mora, 223 Cal. App. 4th 202, 208 (Cal. Ct. App.

  2014).
           70 Complaint, ¶¶ 14 – 19; Ex. 1, Cole Affidavit, ¶¶ 3 – 5.

           71See, e.g., Bullock v. Doe, No. 23-CV-3041 CJW-KEM, 2023 WL
  9503380, at *5 (N.D. Iowa Nov. 3, 2023) (“Because the claim underlying this
  request [for an asset-freeze TRO] is mainly conversion—i.e., defendants have
  plaintiff's property wrongfully—plaintiff's likelihood of success on the merits
  of this claim suffice for this factor to weigh in favor of plaintiff and the Court
  need not discuss the further causes of action.”); Yogaratnam v. Dubois, No.
  CV 24-393, 2024 WL 758387, at *4 (E.D. La. Feb. 23, 2024) (“It appears from
  the record that Defendants have no right to claim either possession or
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         Fraud Claim. To prevail on a fraud claim, a plaintiff must show that

  the defendant made (1) a false representation, (2) of a matter of material fact,

  (3) with knowledge of its falsity, (4) for the purpose of inducing action thereon,

  and (5) that the plaintiff relied upon the representation as true and acted

  upon it to his or her damage.72

         The Harrises’ fraud claim is likely to succeed. Their Complaint and the

  Cole Affidavit show that that the Defendants intentionally and falsely

  represented that their assets would be used for “trading” and “mining”

  cryptocurrency with the intention of causing them to transfer their assets to

  the Defendants’ control, that these statements were material to them, and

  that they acted on the Defendants’ misrepresentations to their detriment.73

         Element 2: Irreparable Harm. This irreparable-harm requirement is

  satisfied for the same reasons explained in Section IV(A)(1), above. As noted

  there, courts have repeatedly found a risk of irreparable harm in crypto-scam

  cases like this one.74

         Element 3: Balancing. The Harrises’ threatened injury outweighs any

  damage a freezing order might cause to the Defendants. The Harrises have

  lost their life savings, and the order they seek is their only hope of preserving


  ownership of the stolen assets, and Defendants’ taking of the funds is clearly
  inconsistent with Plaintiff's rights of ownership.”).
         72 City of Indus. v. City of Fillmore, 198 Cal. App. 4th 191 (2011), as

  modified (Aug. 24, 2011).
         73 Complaint, ¶¶ 13 – 17; Ex. 1, Cole Affidavit, ¶¶ 3 – 5.

         74 See n.52, supra (collecting cases).


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  some assets for recovery. And while an asset freeze might cause temporary

  inconvenience to the Defendants, any restraint implemented can be undone

  should future developments require.75 In addition, should the Court grant the

  Harrises’ requests for expedited discovery and their forthcoming request for

  substituted service, the Defendants are highly likely to receive actual notice

  of this proceeding in the near term. They will then have every opportunity to

  appear and seek dissolution of any freeze implemented.

        Element 4: Public Interest. A freezing order will serve the public

  interest because it will “dissuade would-be fraudsters from stealing,

  laundering illegal proceeds, and preying on Americans” like the Harrises.76 It

  will also “prevent the Defendants from profiting from their scheme, ensuring

  they lack resources and incentives to perpetrate similar schemes in the

  future,”77 and “provide[] assurance to the public that courts will take action




        75 See, e.g., Licht, 2023 WL 4504585, *3 (balancing factor weighed in

  plaintiff’s favor because alleged crypto-thieves faced only “inconvenience” of
  asset-freeze, which could be undone); Gaponyuk, 2023 WL 4670043, at *3
  (same, finding “a short-term freeze is unlikely to present any great harms”);
  Jacobo, 2022 WL 2052637, at *6 (same, finding “[a] delay in defendant’s
  ability to transfer the [allegedly stolen] assets only minimally prejudices
  defendant, whereas withholding injunctive relief would severely prejudice
  plaintiff by providing defendant time to transfer the allegedly purloined
  assets into other accounts beyond the reach of this court”).
        76 Licht, 2023 WL 4504584, at *3.

        77   Id.

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  to promote … recovery of stolen assets when they can be readily located and

  traced to specific locations.”78

                3.     The Court has the authority to issue the asset-freezing
                       injunction The Harrises seeks.

         Typically, a court may issue an order freezing a defendant’s assets only

  after a plaintiff’s claims have been brought to judgment.79 This rule does not

  apply, however, where the plaintiff seeks equitable relief and a constructive

  trust over traceable stolen assets.80 The Harrises seeks just such relief here.81

  For that reason, the Court has the authority to issue the asset-freezing

  injunction the Harrises seek.

                4.     The Court should not require a bond.

         Rule 65(c) provides that a court issuing a preliminary injunction or

  TRO should do so “only if the movant give security in an amount that the

  court considers proper to pay the costs and damages sustained by any party




         78 Jacobo, 2022 WL 2052637, at *6 (quoting Heissenberg, 2021 WL
  8154531, at *2); see also, e.g., Gaponyuk, 2023 WL 4670043, at *3 (finding
  that asset freeze would “serve the public’s interest in stopping, investigating,
  and remedying frauds”).
         79 Grupo Mexicano de Desarrollo S.A. v. Alliance Bond Fund, Inc., 527

  U.S. 308, 322 (1999).
         80 See, e.g., Yogaratnam v. Dubois, No. CV 24-393, 2024 WL 758387, at

  *3 (E.D. La. Feb. 23, 2024) (issuing asset-freeze TRO in crypto-fraud case,
  noting that “numerous district courts … have issued a TRO in this exact
  circumstance to freeze a cryptocurrency asset,” and collecting cases); Jacobo,
  2022 WL 2052637, at *3 (issuing asset-freezing TRO where plaintiff sought
  constructive trust over allegedly stolen assets); Gaponyuk, 2023 WL 4670043,
  at *2 (same).
         81 Complaint, ¶ 33.


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  found to have been wrongfully enjoined or restrained.”82 Yet, “[c]ourts retain

  extensive discretion to set the amount of a bond required as a condition for

  issuing a preliminary injunction and may, in fact, elect to require no bond at

  all.”83 The Defendants will suffer any damages as a result of the requested

  asset freeze, which—as explained above—can be undone at any time if the

  Defendants choose to appear and challenge the injunction. The Harrises thus

  request that the Court decline to impose a bond.

                 B.      The Court should authorize the Harrises to issue
                         subpoenas seeking information about information
                         about the Defendants and their activities.

        Typically, parties may not seek “discovery from any source before the

  conference required by Rule 26(f).”84 But expedited discovery before a Rule

  26(f) conference is permitted where “authorized … by court order.”85 Courts

  in this circuit apply a “good cause” standard to determine whether such an

  order should issue.86 Good cause may be found where “the need for expedited

  discovery in consideration of the administration of justice, outweighs the

  prejudice to the responding party.”87




        82 FED. R. CIV. P. 65(c).

        83 Astrove, 2022 WL 2805345, at *5 (declining to require bond in crypto-

  theft case); Jacobo, 2022 WL 2052637, at *6 (same).
        84 FED R. CIV. P. 26(d)(1).

        85 Id.

        86 St. Louis Grp., Inc. v. Metals & Additives Corp., 275 F.R.D. 236, 239
  (S.D. Tex. 2011) (applying good cause standard).
        87 Id. at 239.


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        Many courts have authorized expedited discovery from cryptocurrency

  exchanges in cryptocurrency-related fraud cases like this one.88 Indeed,

  courts have affirmatively held that any privacy interests that alleged

  cybercriminals have concerning the discovery of information about their

  identities and activities is outweighed by the need to adjudicate victims’

  claims against them.89

               1.     Proposed Discovery

        The Harrises’ proposed discovery arises from the pre-suit investigation

  performed by Digital Investigations. This investigation revealed a series of

  third parties likely to be in possession of information about the Defendants.

  Each of those third parties and their connection to this case is set out below.




        88 See, e.g., Strivelli v. Doe, No. 22-cv-22060 2022 WL 1082638, at *2

  (D.N.J. Apr. 11, 2022) (authorizing expedited discovery from cryptocurrency
  exchanges in crypto case and noting “the Court’s review of cryptocurrency
  theft cases reveals that courts often grant motions for expedited discovery to
  ascertain the identity of John Doe defendants”); Licht, 2023 WL 4504585, at
  *4 (issuing broad authorization for expedited discovery in functionally
  identical crypto-fraud case and requiring that “any party served with a
  request for production shall produce all requested items within 72 hours of
  the request”).
        89 Gaponyuk, 2023 WL 4670043, at *4 (finding alleged cybercriminals’

  privacy interests were “outweighed by the need to adjudicate the [victim’s]
  claims,” and holding that “privacy concerns shall not be a just cause for [a]
  subpoenaed non-party to withhold [] requested documents and information”).

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   Subpoena
                   Connection to Case                           Evidence
   Target

   Microsoft       Microsoft owns Skype, the messaging          Exhibit 1-H
   Corporation     app that Shamlian primarily used to
                   communicate with the Harrises.

   Meta            Meta owns Facebook, where the                Exhibit 1-I
   Platforms, Inc. deception at issue in this case began and
                   where the Harrises communicated with
                   the defendants.

   SRS AB          SRS AB is the domain registrar for           Exhibit 1-J
                   Upwintrade.com.

   Mastercard      A “built-with” search of Upwintrade.com      Exhibit 1-K
   Inc.            shows that, at some point, a Mastercard
                   payments processing tool was installed
                   on the site.

   Visa Inc.       A “built-with” search of Upwintrade.com      Exhibit 1-K
                   shows that, at some point, a Mastercard
                   payments processing tool was installed
                   on the site.

   Data Room,      Data Room provided the U.S.-based            Exhibit 1-J
   Inc.            servers from which the Defendants
                   operated upwintrade.com.

   LLC             This entity owns and operates JivoChat,      Exhibit 1-L
   Technology      a live-chat plugin that the Defendants
   Distribution    used to communicate with victims on
   Ltda            Upwintrade.com.

   Wild West       This entity is the domain registrar for      Exhibit 1-M
   Domains, LLC    davidshamlian.com, the personal
                   website of David Shamlian.

   OrangeHost      This entity provides web-hosting             Exhibit 1-M
   LLC             services for davidshamlian.com.

   Elementor       The Defendants used the Elementor            Exhibit 1-N
   Ltd.            site-building tool to build the website at
                   davidshamlian.com.


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   Binance, Ltd.    A significant portion of the Bitcoin that   Exhibit 1-F
                    the Defendants stole from the Harrises
                    was ultimately deposited in accounts at
                    the Binance cryptocurrency exchange.

   Revolut          A significant portion of the Bitcoin that   Exhibit 1-F
   Technologies,    the Defendants stole from the Harrises
   Inc.             was ultimately deposited in accounts at
                    Revolut, which is a “neo-bank” that
                    offers both crypto- and fiat-denominated
                    accounts.

   Babylon          This entity owns and operates the peer-     Exhibit 1-F
   Solutions        to-peer cryptocurrency exchange
   Limited          Remitano. A significant portion of the
                    Bitcoin that the Defendants stole from
                    the Harrises was ultimately transferred
                    to Remitano accounts.

   Bybit Fintech    A significant portion of the Bitcoin that   Exhibit 1-F
   Limited          the Defendants stole from the Harrises
                    was ultimately deposited in accounts at
                    the Bybit cryptocurrency exchange.

               2.     Information Sought

        The Harrises request the Court’s authorization to issue subpoenas to

  each of the above-listed entities seeking the following information. For all

  targets, the Harrises seek to discover all biographical and contact information

  associated with the Defendants’ accounts. They also seek to discover IP-

  address and location logs showing the devices and locations from which the

  Defendants accessed these accounts.

        The Harrises also seek to discover any payments information in the

  subpoena targets’ possession, including the Defendants’ transaction histories

  and information about the credit or debit cards the Defendants used to pay


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  for the subpoena targets’ services. As to the Defendants’ payment methods,

  the Harrises seek only information sufficient to identify the Defendants’

  payments provider and the Defendants’ account with that provider.

        Finally, as to the firms to which the Harrises’ stolen assets were

  transferred—i.e., Binance, Revolut, Bybit, and Remitano—the Harrises seek

  to discover the current account balances associated with the Defendants’

  accounts, their transaction histories, and identification of any other accounts

  on the respective platforms associated with the accountholders by re-use of

  biographical or contact information.

        Courts have authorized similar discovery where the plaintiff adduced

  evidence that the persons about whom the information was sought were

  cybercriminals and the plaintiff also sought a temporary restraining order

  freezing the assets held in those accounts.90 The Harrises would emphasize

  the importance of the account-balance and transaction-history information

  they seek to their ability to effectively pursue this case. As set out above,

  cryptocurrency exchanges are an informational “black hole” for blockchain

  investigators.91 Thus, although the Harrises have traced their stolen assets

  to the Receiving Exchanges, they cannot determine the Defendants’ current




        90 Strivelli, 2022 WL 1082638, at *2 (granting broad expedited
  discovery in functionally identical crypto-fraud case); see also Licht, 2023 WL
  4504585, at *4 (same).
        91 Ex. 1, Cole Affidavit, ¶ 6 (verifying this Motion’s description).


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  account balances or trace their stolen assets past these exchanges unless they

  are authorized to discover this information from the exchanges themselves.

        Some recent decisions have narrowed the scope of expedited discovery

  in crypto-fraud cases to biographical and contact information.92 But the Court

  should not similarly limit the Harrises requested discovery here, for several

  reasons. First, in these cases, the plaintiffs did not also seek a temporary

  restraining order at the time of their discovery requests—which at least one

  court explicitly recognized could have changed the outcome.93 Second, the

  Harrises do not seek discovery of the accountholders’ social-security numbers

  or their correspondence with the exchanges, which courts have at times been

  hesitant to grant at the expedited-discovery stage.94 Third, cases from outside

  the crypto-fraud context show that courts grant expedited discovery of

  account-balance and transactional information at the TRO stage where the

  evidence shows that the party about whom information is sought is a foreign

  actor engaged in nefarious activity.95



        92 See Tyson v. Coinbase Global, No. 23-cv-22066, 2024 WL 69929, at

  *4 (D.N.J. Jan. 4, 2024) (limiting discovery to biographical and contact
  information); Wuluvarana v. Does, No. 22-cv-982, 2023 WL 183874, at *4
  (E.D. Wis. Jan. 13, 2023) (same).
        93 Tyson, 2024 WL 69929, at *4 (noting that the plaintiff may have been

  entitled to discovery of account-balance and transactional information had he
  filed a motion for a temporary restraining order as the plaintiff had in
  Strivelli).
        94 Id. at *3.

        95 See, e.g., Aquavit Pharmceuticals v. U-Bio Med, Inc., No. 19 CV 3351,

  2019 WL 8756579, at *6 (S.D.N.Y. June 21, 2019) (authorizing expedited
  discovery and ordering third-party financial institutions to produce to
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        Finally, the Harrises urge the Court to consider the effect of its ruling

  on the scope of expedite discovery on victims of pig-butchering scams more

  broadly. Simply put, there is no doubt that that the Harrises were the victims

  of a scam operated by a foreign criminal syndicate.96 And they are but two of

  thousands of victims of a truly exceptional epidemic of fraud such as our

  country has never seen.97 By the time they file a civil case against the

  scammers, the Harrises and others like them are facing financial ruin and

  facing uncertain prospects for recovery. As a matter of national policy, these

  victims need the ability to move decisively against the scammers who

  victimized them, within the confines of the Federal Rules. The Harrises hope

  that the Court’s decision will move the law in that direction.

        V.     Conclusion

        For the reasons set out above, the Harrises have met the standards for

  issuance of a temporary restraining order and an order authorizing expedited



  plaintiff the “account numbers and account balances for any and all of
  Defendants’ financial accounts” in trademark-infringement case); Mayoral v.
  Salin, No. 1:21-CV-62074, 2021 WL 4804525, at *5 (S.D. Fla. Oct. 14, 2021)
  (authorizing expedited discovery of “records regarding the opening of the
  account into which [the defendant’s] funds were deposited, and all records
  regarding the location of [the defendant’s] funds”); Ayyash v. Bank Al-
  Madina, 233 F.R.D. 325, 326-27 (S.D.N.Y. 2005) (allowing expedited
  discovery on third-party banks to locate assets in the United States relating
  to foreign defendants who had an incentive and capacity to hide those assets).
        96 Ex. 1, Cole Affidavit, ¶¶ 3 – 5.

        97 Ex. 1, Cole Affidavit, ¶ 4 (attaching FBI report and academic study

  showing that pig-butchering scams are the most prevalent form of
  cybercrime, and that pig-butchering scammers have stolen more than $75
  billion from victims since 2020).

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  discovery in this matter. They request that the Court issue this relief in the

  form of the proposed order submitted with this Motion.



   Dated: August 2, 2024                       Respectfully submitted,

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